      Case 8-17-76838-las            Doc 23         Filed 12/19/17   Entered 12/19/17 10:44:46




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                              Case No.

                                                                     Chapter    1-
~i-0>       kuie.    ~r'l)r15. Debtor.
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                                              Objection to Motion




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  In re:                                                            Case No.   Cf---- 7 (; 8' 3 8'   -c Lt<!!:.

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